Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 1 of 7 PageID #: 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

STACEY BRUMFIELD                               )
                                               )
       Plaintiff,                              )
                                               )   Cause No.: 1:22-cv-44
v.                                             )
                                               )
TRILOGY MANAGEMENT                             )
SERVICES, LLC,                                 )
                                               )
       Defendant.                              )
                                               )

                     COMPLAINT AND DEMAIND FOR JURY TRIAL

                                   I. NATURE OF THE CASE

      1.        This is an employment discrimination action brought by Plaintiff, Stacey

     Brumfield (“Brumfield”), by counsel, against Trilogy Management Services, LLC

     (“Defendant”) for its discriminatory and retaliatory actions taken against her based on her

     religion and disability in violation of Title VII of the Civil Rights Act of 1964 (“Title VII”),

     42 U.S.C. § 2000e et seq. and the Americans with Disabilities Act of 1990(“ADA”), as

     amended 42 U.S.C. § 12101 et seq.

                                             II. PARTIES


      2.        At all relevant times to this action, Brumfield resided within the Southern

     District of Indiana.

      3.        Defendant is a corporation which maintains offices and conducts business in the

     geographical boundaries of the Southern District of Indiana

                                 III. JURISDICTION AND VENUE
Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 2 of 7 PageID #: 2




    4.        This Court has jurisdiction over the subject matter of this complaint pursuant to

   28 U.S.C. §1331; 28 U.S.C. §1343; 42 U.S.C. § 2000e-5(f)(3); and 42 U.S.C. § 12117(a).

    5.        Defendant is an “employer” within the meaning of 42 U.S.C. § 2000e(b) and 42

   U.S.C. § 12111(5).

    6.        Brumfield is an “employee” within the meaning of 42 U.S.C. § 2000e(f) and 42

   U.S.C. § 12111(4).

    7.        Brumfield exhausted her administrative remedies by timely filing a Charge of

   Discrimination against Defendant with the Equal Employment Opportunity Commission

   and the Indiana Civil Rights Commission. Brumfield received her Notice of Suit Rights for

   the Charge of Discrimination and timely files this action.

    8.        All events pertinent to this lawsuit have occurred in the legal environs of the

   Southern District of Indiana, thus venue in this Court is proper.

                                IV. FACTUAL ALLEGATIONS

    9.        Brumfield was hired by Defendant on or about March 17, 2020, at Defendant’s

   St. Charles Health Campus. During her employment, Brumfield met or exceeded Defendant’s

   legitimate performance expectations.

    10.       On or around March 2021, Defendant enacted a COVID-19 Vaccine Mandate

   (“Mandate”). The Mandate went into effect on or around May 1, 2021. Additionally,

   Defendant created a process under the mandate for religious and medical exemptions.

    11.       Said Mandate discriminated against non-vaccinated individuals by viewing

   and/or perceiving said non-vaccinated employees as having a disability that substantially

   limits a major life activity, including the function of the non-vaccinated employee’s immune

   system.
Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 3 of 7 PageID #: 3




    12.       On or around June 2021, Brumfield timely submitted a religious exemption

   according to Defendant’s policy. Defendant subsequently denied Brumfield’s exemption.

    13.       On or around July 2021, Jon Howard (“Howard”), Executive Director, sent out a

   company-wide email amending the Mandate. Howard stated that the Defendant would allow

   its employees to sign a “pledge” that they would agree to be vaccinated against COVID-19

   within 30 days of an FDA approval for any vaccine. Brumfield declined to sign the “pledge”

   as she opposed receiving the vaccine based on her sincerely held religious beliefs.

    14.       On or around July 6, 2021, Brumfield was terminated for failing to receive one

   of the COVID vaccines under Defendant’s self-imposed Mandate.

    15.       Prior to her termination, Brumfield complied with Defendant’s COVID-19

   policies, which included: wearing a mask, social distancing, and wearing Personal

   Protective Equipment (“PPE”), which were held out as appropriate and secure against

   COVID by Defendant.

    16.       Any employee granted an accommodation under the Mandate may be required to

   wear additional PPE and/or be subject to additional work restrictions. These additional

   requirements/restrictions were the same policies that Brumfield was already adhering to

   prior to her termination.

                                    V. CAUSES OF ACTION

                 COUNT I – TITLE VII – RELIGIOUS DISCRIMINATION

    17.       Brumfield hereby incorporates paragraphs one (1) through sixteen (16) of her

   Complaint as if it were set forth at length herein.
Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 4 of 7 PageID #: 4




    18.       Brumfield was discriminated against based on her sincerely held religious belief

   when she was subject to less favorable terms and conditions in her employment and when

   her religious accommodation request was denied.

    19.       Defendant discriminated against Brumfield on the basis of her closely held

   religious beliefs by subjecting her to disparate treatment.

    20.       Defendant discriminated against Brumfield on the basis of her closely held

   religious beliefs by failing to engage in the interactive process in good faith and denying her

   reasonable accommodations.

    21.       Defendant’s actions violated Title VII of the Civil Rights Act of 1964, 42 U.S.C.

   § 2000e et seq.

    22.       Defendant’s conduct was deliberate, willful, and in reckless disregard for

   Brumfield’s civil rights.

    23.       Brumfield has suffered damages as a result of Defendant’s unlawful conduct.

                               COUNT II – TITLE VII - RETALIATION

    24.       Brumfield hereby incorporates paragraphs one (1) through twenty-three (23) of

   her Complaint as if the same were set forth at length herein.

    25.       Brumfield engaged in protected activity when she submitted a request for a

   religious accommodation for Defendant’s COVID-19 vaccination mandate.

    26.       Defendant retaliated against Brumfield by terminating her after she requested an

   accommodation for her sincerely held religious belief.

    27.       Defendant’s actions violated Title VII of the Civil Rights Act of 1964, 42 U.S.C.

   § 2000e et seq.
Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 5 of 7 PageID #: 5




    28.       Defendant’s conduct was intentional, willful, and in reckless disregard of

   Brumfield’s rights.

    29.       Brumfield has suffered damages as a result of Defendant’s unlawful conduct.

                               COUNT III – ADA - DISCRIMINATION

    30.       Brumfield hereby incorporates paragraphs one (1) through twenty-nine (29) of

   her Complaint as if the same were set forth at length herein.

    31.       Brumfield was discriminated against based on her actual or perceived disability

   when she was subject to less favorable terms and conditions in her employment and when

   her medical accommodation request for the COVID-19 vaccine mandate was denied.

    32.       Defendant discriminated against Brumfield on the basis of her disability by

   subjecting her to disparate treatment.

    33.       Defendant discriminated against Brumfield on the basis of her disability by

   failing to engage in the interactive process in good faith and denying her reasonable

   accommodations.

    34.       Defendant’s actions violated the Americans with Disabilities Act, 42 U.S.C. §

   12101 et seq.

    35.       Defendant’s conduct was intentional, willful, and in reckless disregard of

   Brumfield’s civil rights.

    36.       Brumfield has suffered damages as a result of Defendant’s unlawful conduct.

                                COUNT IV – ADA – RETALIATION

    37.       Brumfield hereby incorporates paragraphs one (1) through thirty-six (36) of her

   Complaint as if the same were set forth at length herein.
Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 6 of 7 PageID #: 6




      38.      Brumfield engaged in a protected activity when she requested a medical

    accommodation for Defendant’s COVID-19 vaccine mandate.

      39.      Defendant retaliated against Brumfield by terminating her after she requested a

    medical accommodation.

      40.      Defendant’s actions violated the Americans with Disabilities Act, 42 U.S.C.

    12010 et seq.

      41.      Brumfield has suffered damages as a result of Defendant’s unlawful conduct.

                                  VI. REQUESTED RELIEF

       WHEREFORE, Plaintiff, Stacey Brumfield, respectfully requests that this Court enter

judgment in her favor and award her the following relief:

       1.     Reinstatement to her original position and salary she would have enjoyed but for

       Defendant’s unlawful actions, or front pay in lieu thereof;

       2.     Award Brumfield back pay she would have earned, including benefits and

       interest, but for Defendant’s unlawful actions;

       3.     All wages, benefits, compensation, and other monetary loss suffered as a result of

       Defendant’s unlawful actions;

       4.     Compensation for any and all other damages suffered as a consequence of

       Defendant’s unlawful actions;

       5.     Compensatory damages for Defendant’s violations of Title VII and the ADA;

       6.     Punitive damages for violations of Title VII and the ADA;

       7.     All costs and attorney’s fees incurred as a result of bringing this action;

       8.     Pre- and post-judgment interest on all sums recoverable; and

       9.     All other legal and/or equitable relief this Court sees fit to grant.
Case 3:22-cv-00044-RLY-MPB Document 1 Filed 04/11/22 Page 7 of 7 PageID #: 7




                                                 Respectfully submitted,



                                                 /s/Taylor Ferguson
                                                 Taylor Ferguson
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                                                 Counsel for Plaintiff, Stacey Brumfield




                                    DEMAND FOR JURY TRIAL

           Plaintiff, Stacey Brumfield, by counsel, requests a trial by jury on all issues deemed so
triable.



                                                 Respectfully submitted,



                                                 /s/Taylor Ferguson
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